  USCA11 Case: 21-13232            Document: 52         Date Filed: 12/23/2022       Page: 1 of 2




                                          Attorneys-at-Law
                                        8751 W. Broward Blvd.
                                               Suite 105
                                       Plantation, Florida 33324
 Chris Kleppin                                                                        Tel. 954.424.1933
 chris@kleppinlaw.com                                                                 Fax 954.474.7405
 Chelsea Lewis
 chelsea@kleppinlaw.com
 Allyson Morgado
 allyson@kleppinlaw.com



                                        December 23, 2022
VIA CM/ECF PORTAL
David J. Smith, Clerk
United States Court of Appeals
For the Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303

        Re:     Appeal No.: 21-13232
                Case Style: Music Specialist, Inc., et al v. Warner Chappell Music, Inc., et al
                District Docket No: 1:18-cv-25474-RAR

Dear Mr. Smith:

This case is set for oral argument the week of January 16, 2023 in Miami, Florida.

Plaintiffs-Appellants, Music Specialist, Inc. and Sherman Nealy, hereby notify this Court’s clerk
of the Ninth Circuit’s decision in Starz Entertainment, LLC v. MGM Domestic Television
Distribution, LLC, 39 F.4th 1236 (9th Cir. 2022), which bears on the issues presented in this appeal.
(See Initial Brief, at pp. 19-30; see also Reply Brief, at pp. 16-19, 23-24). The Starz court affirmed
the findings of “[m]ost courts, including the” Ninth Circuit, which had previously agreed with the
argument set forth by Plaintiffs-Appellants here, that Petrella v. Metro-Goldwyn-Mayer, Inc., 572
U.S. 663, 667-68, “addressed only the availability of laches in cases where the copyright owner is
seeking damages for infringing acts that occurred during the three-year window before a claim is
filed,” and that “any language in that opinion discussing relief beyond that window is dicta and
did not affect the viability of the discovery rule,” specifically noting that “the discovery rule of
accrual of copyright claims is alive and well.” Id. at 1238. The Starz court cited the Ninth Circuit’s
previous explanation in Polar Bear Production, Inc. v. Timex Corp., 384 F.3d 700 (9th Cir. 2004),
in which the court stated that “[i]t makes little sense … to bar damages recovery by copyright
holders who have no knowledge of the infringement.” Id. at 1240 (citing Polar Bear, 384 F.3d
700 at 706).
  USCA11 Case: 21-13232           Document: 52       Date Filed: 12/23/2022       Page: 2 of 2
David J. Smith, Clerk
United States Court of Appeals
December 23, 2022
Page 2 of 2



Moreover, the court expressly disagreed with the Second Circuit’s findings in Sohm v. Scholastic
Inc., 959 F.3d 39 (2nd Cir. 2020), and ultimately held that “the three-year statute of limitations
period begins only when the copyright holder knows or should know of the infringing act,”
emphasizing that “[n]either the text of the Copyright Act nor Petrella imposes a three-year
damages bar in a discovery rule case.” Id. at 1246.

The Starz opinion on the relevant issue has subsequently been agreed with by AMO Dev., LLC v.
Alcon Vision, LLC, 2022 WL 17475479 (D. Del. Dec. 6, 2022), and disagreed with by Johnston v.
Kroeger, 2022 WL 3703859 (W.D. Tex. Aug. 26, 2022).

                                                            Very truly yours,

                                                             Chris Kleppin

                                                            Chris Kleppin
cc: Karen Stetson, Esq.
   Jonathan Gaines, Esq.
   Jonathan Z. King, Esq.
   Plaintiffs-Appellants’ co-counsel
